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 7

 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10

11                                            Case No.
     JAMES RUTHERFORD, an
12                                            Complaint For Damages And
13   individual,                              Injunctive Relief For:

14                     Plaintiff,              1. VIOLATIONS OF THE
15                                                AMERICANS WITH DISABILITIES
     v.                                           ACT OF 1990, 42 U.S.C. §12181 et
16                                                seq. as amended by the ADA
17                                                Amendments Act of 2008 (P.L. 110-
     LOS ALTOS XXIX, LP, a California
                                                  325).
18   limited partnership; and DOES 1-10,
     inclusive,
19                                             2. VIOLATIONS OF THE UNRUH
                                                  CIVIL RIGHTS ACT, CALIFORNIA
20                    Defendants.                 CIVIL CODE § 51 et seq.
21

22
           Plaintiff, JAMES RUTHERFORD, an individual, (“Plaintiff”), complains of
23
     Defendant LOS ALTOS XXIX, LP, a California limited partnership; and Does 1-10
24
     (“Defendants”) and alleges as follows:
25
                                            PARTIES
26
           1.      Plaintiff is substantially limited in performing one or more major life
27
     activities, including but not limited to: walking, standing, ambulating, sitting; in
28
     addition to twisting, turning and grasping objects. As a result of these disabilities,
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                                           COMPLAINT
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 1   Plaintiff relies upon mobility devices, including at times a wheelchair, to ambulate.
 2   With such disabilities, Plaintiff qualifies as a member of a protected class under the
 3   Americans with Disabilities Act, 42 U.S.C. §12102(2) as amended by the ADA
 4   Amendments Act of 2008 (P.L. 110-325) (“ADA”) and the regulations
 5   implementing the ADA set forth at 28 C.F.R. §§ 36.101 et seq. At the time of
 6   Plaintiff’s visits to Defendants' facility and prior to instituting this action, Plaintiff
 7   suffered from a “qualified disability” under the ADA, including those set forth in
 8   this paragraph. Plaintiff is also the holder of a Disabled Person Parking Placard.
 9          2.     Plaintiff is informed and believes and thereon alleges that Defendant
10   LOS ALTOS XXIX, LP, a California limited partnership, owned the property
11   located at 618 W La Palma Ave., Anaheim, CA 92801 (“Property”) on or around
12   October 3, 2020 upon which Pizza Hut (“Business”) is located.
13          3.     Plaintiff is informed and believes and thereon alleges that Defendant
14   LOS ALTOS XXIX, LP, a California limited partnership, currently owns the
15   Property.
16          4.     The Business is a restaurant open to the public, which is a “place of
17   public accommodation” as that term is defined by 42 U.S.C. § 12181(7).
18          5.     Plaintiff does not know the true name of DOE Defendants, that may be
19   related to the Business and/or Property. Plaintiff is informed and believes that each
20   of the Defendants herein, including Does 1 through 10, inclusive, is responsible in
21   some capacity for the events herein alleged. Plaintiff will seek leave to amend when
22   the true names, capacities, connections, and responsibilities of the Defendants and
23   Does 1 through 10, inclusive, are ascertained.
24                               JURISDICTION AND VENUE
25          6.     This Court has subject matter jurisdiction over this action pursuant
26   to 28 U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the ADA.
27          7.     This court has supplemental jurisdiction over Plaintiff’s non-federal
28   claims pursuant to 28 U.S.C. § 1367, because Plaintiff’s Unruh Civil Rights Act,
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                                             COMPLAINT
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 1   California Civil Code § 51 et seq., (“UCRA”) claims are so related to Plaintiff’s
 2   federal ADA claims in that they have the same nucleus of operative facts and
 3   arising out of the same transactions, they form part of the same case or controversy
 4   under Article III of the United States Constitution.
 5          8.     Venue is proper in this court pursuant to 28 U.S.C. §1391 because the
 6   real property which is the subject of this action is located in this district and because
 7   Plaintiff's causes of action arose in this district.
 8                                FACTUAL ALLEGATIONS
 9          9.     Plaintiff went to the Business on or about October 3, 2020 for the dual
10   purpose of browsing the menu and to confirm that this public place of
11   accommodation is accessible to persons with disabilities within the meaning federal
12   and state law.
13          10.    Unfortunately, although parking spaces were one of the facilities
14   reserved for patrons, there were no designated parking spaces available for persons
15   with disabilities that complied with the 2010 Americans with Disabilities Act
16   Accessibility Guidelines (“ADAAG”) on October 3, 2020.
17          11.    At that time, instead of having architectural barrier free facilities for
18   patrons with disabilities, Defendants have: accessible parking spaces that are not
19   located on the shortest accessible route to the entrance per Section 208.3.1 (Parking
20   spaces complying with 502 that serve a particular building or facility shall be located
21   on the shortest accessible route from parking to an entrance complying with 206.4.
22   Where parking serves more than one accessible entrance, parking spaces complying
23   with 502 shall be dispersed and located on the shortest accessible route to the
24   accessible entrances. Here, several van accessible parking spaces are located near the
25   Northgate Market store and only one accessible parking space is located at the far
26   other end of the building from this entrance); and, no accessible routes connecting
27   the parking to the main entrance or elements within the facility as required by
28   Section 206.2.2 (which requires that at least one accessible route shall connect
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                                             COMPLAINT
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 1   accessible buildings, accessible facilities, accessible elements, and accessible spaces
 2   that are on the same site, and 206.1 requiring access to the site arrival point (main
 3   entrance) from the public street).
 4         12.    Parking spaces are one of the facilities, privileges, and advantages
 5   reserved by Defendants to persons at the Property serving the Business.
 6         13.    Because Defendant LOS ALTOS XXIX, LP, a California limited
 7   partnership, owns the Property, which is a place of public accommodation, they are
 8   responsible for the violations of the ADA that exist in the parking area and
 9   accessible routes that connect to the facility’s entrance that serve customers to the
10   Business.
11         14.    Subject to the reservation of rights to assert further violations of law
12   after a site inspection found infra, Plaintiff asserts there are additional ADA
13   violations which affect him personally.
14         15.    Plaintiff is informed and believes and thereon alleges Defendants had
15   no policy or plan in place to make sure that there was compliant accessible parking
16   reserved for persons with disabilities prior to October 3, 2020.
17         16.    Plaintiff is informed and believes and thereon alleges Defendants have
18   no policy or plan in place to make sure that the designated disabled parking for
19   persons with disabilities comport with the ADAAG.
20         17.    Plaintiff personally encountered these barriers. The presence of these
21   barriers related to Plaintiff’s disability denies Plaintiff his right to enjoy accessible
22   conditions at public place of accommodation and invades legally cognizable
23   interests created under the ADA.
24         18.    The conditions identified supra are necessarily related to Plaintiff’s
25   legally recognized disability in that Plaintiff is substantially limited in the major life
26   activities of walking, standing, ambulating, sitting, in addition to twisting, turning
27   and grasping objects; Plaintiff is the holder of a disabled parking placard; and
28   because the enumerated conditions relate to the use of the accessible parking, relate
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                                            COMPLAINT
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 1   to the slope and condition of the accessible parking and accessible route to the
 2   accessible entrance, and relate to the proximity of the accessible parking to the
 3   accessible entrance.
 4          19.      As an individual with a mobility disability who at times relies upon a
 5   wheelchair or other mobility devices, Plaintiff has a keen interest in whether public
 6   accommodations have architectural barriers that impede full accessibility to those
 7   accommodations by individuals with mobility impairments.
 8          20.      Plaintiff is being deterred from patronizing the Business and its
 9   accommodations on particular occasions, but intends to return to the Business for the
10   dual purpose of availing himself of the goods and services offered to the public and
11   to ensure that the Business ceases evading its responsibilities under federal and state
12   law.
13          21.      Upon being informed that the public place of accommodation has
14   become fully and equally accessible, he will return within 45 days as a “tester” for
15   the purpose of confirming their accessibility. Civil Rights Educ. and Enforcement
16   Center v. Hospitality Props. Trust, 867 F.3d 1093, 1096 (9th Cir. 2017).
17          22.      As a result of his difficulty experienced because of the inaccessible
18   condition of the facilities of the Business, Plaintiff was denied full and equal access
19   to the Business and Property.
20          23.      The Defendants have failed to maintain in working and useable
21   conditions those features required to provide ready access to persons with
22   disabilities.
23          24.      The U.S. Department of Justice has emphasized the importance of
24   enforcing laws that prohibit unlawful discriminatory behavior, especially in the era
25   of the COVID-19 emergency. See Statement by Assistant Attorney General for Civil
26   Rights Eric S. Dreiband Protecting Civil Rights While Responding to the
27   Coronavirus Disease 2019 (COVID-19) found at
28   https://www.ada.gov/aag_covid_statement.pdf.
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                                             COMPLAINT
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 1         25.    The violations identified above are easily removed without much
 2   difficulty or expense. They are the types of barriers identified by the Department of
 3   Justice as presumably readily achievable to remove and, in fact, these barriers are
 4   readily achievable to remove. Moreover, there are numerous alternative
 5   accommodations that could be made to provide a greater level of access if complete
 6   removal were not achievable.
 7         26.    Given the obvious and blatant violation alleged hereinabove, Plaintiff
 8   alleges, on information and belief, that there are other violations and barriers in the
 9   site that relate to his disability. Plaintiff will amend the complaint, to provide proper
10   notice regarding the scope of this lawsuit, once he conducts a site inspection.
11   However, the Defendants are on notice that the Plaintiff seeks to have all barriers
12   related to his disability remedied. See Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008)
13   (holding that once a plaintiff encounters one barrier at a site, the plaintiff can sue to
14   have all barriers that relate to his disability removed regardless of whether he
15   personally encountered them).
16         27.    Without injunctive relief, Plaintiff will continue to be unable to fully
17   access Defendants’ facilities in violation of Plaintiff’s rights under the ADA.
18                               FIRST CAUSE OF ACTION
19   VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT OF 1990,
20     42 U.S.C. § 12181 et seq. as amended by the ADA Amendments Act of 2008
21                                        (P.L. 110-325)
22         28.    Plaintiff re-alleges and incorporates by reference all paragraphs alleged
23   above and each and every other paragraph in this Complaint necessary or helpful to
24   state this cause of action as though fully set forth herein.
25         29.    Under the ADA, it is an act of discrimination to fail to ensure that the
26   privileges, advantages, accommodations, facilities, goods, and services of any place
27   of public accommodation are offered on a full and equal basis by anyone who owns,
28   leases, or operates a place of public accommodation. See 42 U.S.C. § 12182(a).
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                                            COMPLAINT
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 1   Discrimination is defined, inter alia, as follows:
 2                a.     A failure to make reasonable modifications in policies, practices,
 3                       or procedures, when such modifications are necessary to afford
 4                       goods, services, facilities, privileges, advantages, or
 5                       accommodations to individuals with disabilities, unless the
 6                       accommodation would work a fundamental alteration of those
 7                       services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 8                b.     A failure to remove architectural barriers where such removal is
 9                       readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
10                       defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
11                       Appendix "D".
12                c.     A failure to make alterations in such a manner that, to the
13                       maximum extent feasible, the altered portions of the facility are
14                       readily accessible to and usable by individuals with disabilities,
15                       including individuals who use wheelchairs, or to ensure that, to
16                       the maximum extent feasible, the path of travel to the altered area
17                       and the bathrooms, telephones, and drinking fountains serving
18                       the area, are readily accessible to and usable by individuals with
19                       disabilities. 42 U.S.C. § 12183(a)(2).
20         30.    Any business that provides parking spaces must provide accessible
21   parking spaces. 2010 Standards § 208. Under the 2010 Standards, access aisles
22   shall be at the same level as the parking spaces they serve. Changes in level are not
23   permitted. 2010 Standards § 502.4. "Access aisles are required to be nearly level in
24   all directions to provide a surface for wheelchair transfer to and from vehicles." 2010
25   Standards § 502.4 Advisory. Here the failure to provide a level access aisle in the
26   designated disabled parking space is a violation of the law and excess slope angle in
27   the access pathway is a violation of the law.
28         31.    A public accommodation must maintain in operable working condition
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                                           COMPLAINT
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 1   those features of its facilities and equipment that are required to be readily accessible
 2   to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 3           32.     Here, the failure to ensure that accessible facilities were available and
 4   ready to be used by Plaintiff is a violation of law.
 5           33.     Given its location and options, Plaintiff will continue to desire to
 6   patronize the Business but he has been and will continue to be discriminated against
 7   due to lack of accessible facilities and, therefore, seeks injunctive relief to remove
 8   the barriers.
 9                                SECOND CAUSE OF ACTION
10          VIOLATION OF THE UCRA, CALIFORNIA CIVIL CODE § 51 et seq.
11           34.     Plaintiff re-alleges and incorporates by reference all paragraphs alleged
12   above and each and every other paragraph in this Complaint necessary or helpful to
13   state this cause of action as though fully set forth herein.
14           35.     California Civil Code § 51 et seq. guarantees equal access for people
15   with disabilities to the accommodations, advantages, facilities, privileges, and
16   services of all business establishments of any kind whatsoever. Defendants are
17   systematically violating the UCRA, Civil Code § 51 et seq.
18           36.     Because Defendants violate Plaintiff’s rights under the ADA,
19   Defendants also violated the UCRA and are liable for damages. (Civ. Code § 51(f),
20   52(a).) These violations are ongoing.
21           37.     Plaintiff is informed and believes and thereon alleges that Defendants’
22   actions constitute discrimination against Plaintiff on the basis of a disability, in
23   violation of the UCRA, Civil Code § 51 et seq., because Defendants have been
24   previously put on actual or constructive notice that the Business is inaccessible to
25   Plaintiff. Despite this knowledge, Defendants maintain its premises in an
26   inaccessible form, and Defendants have failed to take actions to correct these
27   barriers.
28   ////
                                                  8
                                              COMPLAINT
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 1                                         PRAYER
 2   WHEREFORE, Plaintiff prays that this court award damages provide relief as
 3   follows:
 4         1.     A preliminary and permanent injunction enjoining Defendants from
 5   further violations of the ADA, 42 U.S.C. § 12181 et seq. as amended by the ADA
 6   Amendments Act of 2008 (P.L. 110-325), and UCRA, Civil Code § 51 et seq. with
 7   respect to its operation of the Business and Property; Note: Plaintiff is not invoking
 8   section 55, et seq, of the California Civil Code and is not seeking injunctive relief
 9   under the Disabled Persons Act (Cal. C.C. §54) at all.
10         2.     An award of actual damages and statutory damages of not less than
11   $4,000 per violation pursuant to § 52(a) of the California Civil Code;
12         3.     An additional award of $4,000.00 as deterrence damages for each
13   violation pursuant to Johnson v. Guedoir, 218 F. Supp. 3d 1096; 2016 U.S. Dist.
14   LEXIS 150740 (USDC Cal, E.D. 2016); and,
15         4.     For reasonable attorneys' fees, litigation expenses, and costs of suit,
16   pursuant to 42 U.S.C. § 12205; California Civil Code § 52.
17

18                               DEMAND FOR JURY TRIAL
19         Plaintiff hereby respectfully requests a trial by jury on all appropriate issues
20   raised in this Complaint.
21

22   Dated: November 17, 2020                MANNING LAW, APC
23

24                                    By: /s/ Joseph R. Manning Jr., Esq.
                                         Joseph R. Manning Jr., Esq.
25                                       Attorney for Plaintiff
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                                           COMPLAINT
